Case 2:05-cr-20251-SH|\/| Document 10 Filed 07/08/05 Page 1 of 3 Page|D 15

FlLEo nr/%M;;w o.c.
UNITED STATES DISTRICT COURT

WESTERN DISTRICT 0F TENNESSEE 05 JUL -B PH 2= hit
Western Division

  
 
 

li‘;-.§§`.§ iftfl}’t;li]
crest s§ l .i coast
UNITEI) sTATEs 0F AMERICA W"` il “"`f' klm/ipth
-V- Case No. 2:05cr20251-03Ma

GINA BELL

 

ORDER SETT|NG
COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(1) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.

(2) The defendant shall immediately advise the court, Pretrial Services Offlce, Probation Office, defense counsel
and the U.S. Attorney in writing of any change in address and telephone number

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed The defendant shall next appear for Arraigmnent in the United States Courthouse and
Federal Building in Courtroorn Courtroom # 5 on Weclnesday July 13, 2005 @ 9:30am.

ADD|T|ONAL COND|T|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTI-IER ORDERED that the release of the defendant is subject to the conditions marked below:

0 The defendant is released on personal recognizance
Secnred Financial Conditions

0 report as directed by the Pretrial Services Office,

ADV|CE OF PENALT|ES AND SANCT|ONS
TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a fine, or both.

Ttlis document enterc§il_on the docket sheet ln compliance '
with sole 55 ana/or 32(b) FHch on 'Z'/¢Zz d 52 / 0

AO 199A Order Setting Conditions of Re|ease

Case 2:05-cr-20251-SH|\/| Document 10 Filed 07/08/05 Page 2 of 3 Page|D 16

The commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigationl lt is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or infonnant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the cou.rt. The
penalties for tarnpering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killingl

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed If you are convicted of:

(l) an offense punishable by death, life irnprisonrnent, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;
(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen ycars, you shall

be fined not more than $250,000 or imprisoned not more than five years, or both;
(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
(4) a misdemeanor, you shall be fined not more than $IO0,000 or imprisoned not more than one year, or both.
A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense. In addition, a failure to appear may result in the forfeiture of any bond posted.

ACKNOWLEDGMENT OF DEFENDANT

I acknowledge that I am the defendant in this case and that I am aware of the conditions ofrelease. l promise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed. I am aware

of the penalties and sanctions set forth above. j

§'ignature of De`fbndant

Gina Bell

555 Alston
Memphis, TN 38126
(901) 774-9788

D|RECTlONS TO THE UN|TED STATES MARSHAL

The defendant is ORDERED released after processing

The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
Judicial Ofiicer that the defendant has posted bond and/or complied with all other conditions for release. The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

. /
Date: July 8, 2005 p(&/M,[ f M__

DIANE K.'vEsCovo
UNITED sTATEs MAGISTRATE IUDGE

\z.l:i

AO 199A Order Settlng Ccnditions of Re|ease '2'

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:05-CR-20251 Was distributed by faX, mail, or direct printing on
July 12, 2005 to the parties listed.

 

 

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Camille Reese McMullen
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Saniuel Mays
US DISTRICT COURT

